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PROPOSED COUNSEL FOR DEBTORS

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

IN RE:                                            §                CHAPTER 11
                                                  §
NATIONAL RIFLE ASSOCIATION                        §                CASE NO. 21-30085-hdh11
OF AMERICA and SEA GIRT LLC,                      §
                                                  §
          DEBTORS1                                §                Jointly Administered


                                        NOTICE OF HEARING

          PLEASE TAKE NOTICE that a final hearing on the following First Day Motions filed

in the above-referenced case on January 18, 2021 has been scheduled for Wednesday, February

10, 2021 at 2:00 p.m. (Central Time) before the Honorable Harlin D. Hale, United States

Bankruptcy Judge for the Northern District of Texas, 1100 Commerce Street, 14th Floor,

Courtroom #3, Dallas, Texas 75242:

          1.     Debtors’ Emergency Motion for Entry of an Order Extending the Time to File
                 Schedules and Statements [Docket No. 4]

          2.     Debtors’ Emergency Motion for Authority to Continue Use of Existing Cash
                 Management System, Maintain Existing Bank Accounts, Pay Certain Costs and

1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.


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               Fees Associated with Credit Card Transactions, and Continue Use of Existing
               Business Forms [Docket No. 5]

          3.   Debtors’ Emergency Motion for Interim and Final Orders Authorizing Payment of
               Prepetition Employee Wages, Compensation, and Employee Benefits and Granting
               Related Relief [Docket No. 6];

          4.   Debtors’ Emergency Motion for Interim and Final Orders Authorizing the Debtors
               to Pay Certain Prepetition Taxes; [Docket No. 7]; and

          5.   Debtors’ Emergency Motion for Interim and Final Orders (I) Prohibiting Utilities
               from Altering, Refusing or Discontinuing Services on Account of Prepetition
               Invoices, (II) Approving Procedures for Providing Adequate Assurance of
               Postpetition Payments, and (III) Approving Debtors’ Proposed Form of Adequate
               Assurance [Docket No. 8].


          PLESE TAKE FURTHUR NOTICE that the hearing will be conducted by

videoconference and teleconference in Webex. The Webex hearing link will be posted to Judge

Hale’s Hearing and Dates and Calendar web page prior to the hearing and may be accessed from

the following link:        https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-hales-

hearing-dates. Parties attending the hearing are requested to include their names on the Court’s

electronic sign-in sheet located on Judge Hale’s web page under “Electronic Appearances” located

at the link given above. Parties should also review, prior to the hearing, the Webex information

attached hereto.

Dated: January 22, 2021.
                                            Respectfully submitted,

                                            /s/ Patrick J. Neligan, Jr.
                                            Patrick J. Neligan, Jr.
                                            State Bar. No. 14866000
                                            Douglas J. Buncher
                                            State Bar No. 03342700
                                            John D. Gaither
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                                               PROPOSED COUNSEL FOR DEBTORS


                                  CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on the 22nd day of January 2021 a true and correct

copy of the foregoing was served via first class U.S. mail on the parties named on the attached

Master Service List.


                                                /s/ John D. Gaither
                                               John D. Gaither




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